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                                 IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                        )
                                                 )
v.                                               )   Case No. 22-cr-14-APM
                                                 )
JONATHAN WALDEN,                                 )

                 UNOPPOSED MOTION TO CONTINUE STATUS CONFERENCE

          Comes now the defendant in the above styled cause, by and through his undersigned

counsel of record, and respectfully requests this Honorable Court to entertain this motion

and thereafter enter an order continuing the status conference currently set on February 11,

2022.      As grounds therefore, defendant would show unto this Honorable Court the

following:

          1.        Undersigned counsel have been in contact with Assistant U.S. Attorneys

prosecuting the case against this defendant and have exchanged information relative to a

possible resolution of this case.

          2.        As part of those discussions, it was suggested that a reverse proffer might be

the next appropriate step to take in an effort to reach a settlement..

          3.        The time constraints currently prohibit that reverse proffer from occurring

before Friday, February 11, 2022.

          4.        Undersigned counsel respectfully requests additional time within which to

conduct a reverse proffer and to be in a better position to report to the court the current

status of this case and whether or not a trial will be necessary.

          5.        The contents of this motion have been discussed with Assistant U.S. Attorneys

Troy Edwards and Justin Shur, who do not oppose the granting of this motion.


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          6.        The granting of this Motion is in the interest of justice, this defendant and does

not work an undue burden on the United States Government.

                    WHEREFORE, PREMISES CONSIDERED, undersigned counsel

respectfully requests this Honorable Court entertain this Motion and thereafter enter an

order continuing this matter for a status conference for at least thirty days.

                                                           Respectfully submitted,

                                                           /s/ Thomas J. Spina
                                                           Thomas J. Spina
                                                           Attorney for Defendant
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                                             CERTIFICATE OF SERVICE

       I hereby certify that on February 15, 2022, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which will send notification of such filing to all
attorneys of records.


                                                           /s/ Thomas J. Spina
                                                           Thomas J. Spina




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